               Case 2:20-cr-00123-RSL Document 26 Filed 09/15/20 Page 1 of 2




 1                                                                HONORABLE ROBERT S. LASNIK
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 5
                                UNITED STATES DISTRICT COURT
 6                        FOR THE WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                              Cause No. 20-123 RSL
 9                  Plaintiff,                              ORDER ON MOTION TO
                                                            ENTER GUILTY PLEA BY
10          vs.                                             WEBEX
11   GARY RIGGS,

12                  Defendant.

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            This matter comes before the Court on Motion of the Defendant above-named. The
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     Defendant has indicated through Counsel that he wishes to enter a guilty plea, admit the supervised
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     released violation in Case No. 16-00048 RSL, and be sentenced as soon as possible. Counsel has
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     indicated to the Court that the Defendant is willing to waive his personal presence and enter the
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     guilty plea and admit the supervised release violations by WEBEX. At present, the Court is closed
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     due to the COVID-19 pandemic and it is uncertain as to when the Court may reopen to receive
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     guilty pleas in person. Once the Court reopens, there will be a backlog of cases awaiting disposition
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     and additional delay. The Court therefore finds that allowing the Defendant to enter a guilty plea
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     and supervised release violation admission by WEBEX is necessary to prevent serious harm to the
22

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                                                                                            Gilbert H. Levy
      ORDER ON MOTION TO ENTER                                                                     Attorney at Law
      GUILTY PLEA BY WEBEX - 1                                                              2125 Western Avenue, Ste 330
                                                                                             Seattle, Washington 98121
                                                                                                    (206) 443-0670
                                                                                             gilbert.levy.atty@gmail.com
                Case 2:20-cr-00123-RSL Document 26 Filed 09/15/20 Page 2 of 2




 1   interests of justice in that the indefinite delay will impact the Defendant’s ability to transfer to his
 2   designated facility and his ability to participate in necessary programming.
 3           NOW THEREFORE IT IS ORDERED that this matter be referred to a United States
 4   Magistrate Judge for hearing by WEBEX for the purpose of receiving the guilty plea and admission
 5   to the supervised release violation.
 6           DATED THIS 15th day of September, 2020
 7

 8                                                            A
                                                              Robert S. Lasnik
 9                                                            United States District Judge

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11   Presented by:

12
     /s/Gilbert H. Levy
13   Gilbert H. Levy, WSBA #4805
     Attorney for Defendant
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                                                                                                Gilbert H. Levy
      ORDER ON MOTION TO ENTER                                                                          Attorney at Law
      GUILTY PLEA BY WEBEX - 2                                                                   2125 Western Avenue, Ste 330
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